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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                       3:11cr68/MCR

TYLER JAMES ENGLAND

                                 /


                          ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there has been no timely objections, and subject to this Court’s
consideration of the plea agreement pursuant to Fed.R.Crim.P. 11(e)(2), the plea of
guilty of the defendant, TYLER JAMES ENGLAND to the three count indictment
against him is hereby ACCEPTED. All parties shall appear before this Court for
sentencing as directed.


      DONE AND ORDERED this 12th day of December, 2011.




                                       s/   M. Casey Rodgers
                                      M. CASEY RODGERS
                                      CHIEF UNITED STATES DISTRICT JUDGE
